
ORFINGER, M., Senior Judge.
Appellant appeals from an adjudication of delinquency ordering a Level 8 residential confinement, suspended in lieu of successful completion of sexual offender treatment as a condition of a five year term of community control. Appellant had entered a plea of nolo contendere to a reduced charge of attempted lewd assault.
The predisposition report (PDR) recommended community control for up to three years with any commitment suspended pending compliance with the terms of the proposed treatment plan, which included *1032participation m an outpatient juvenile sexual offender treatment program. No level of commitment was included in the report. Section 39.052(4)(e)2, 3, Fla. Stat. (1996) requires the court to consider the Department’s placement and restrictiveness level, and if the court disregards them, the court must state its reasons on the record. No reasons were stated here for disregarding the Department’s recommendations, so we must set aside the Order of Disposition. See J.E.W. v. State, 672 So.2d 72 (Fla. 1st DCA 1996). See also, J.M. v. State, 677 So.2d 890 (Fla. 3d DCA 1996). The Order of Disposition is reversed, and the cause remanded for further proceedings.
REVERSED and REMANDED.
DAUKSCH and THOMPSON, JJ., concur.
